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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

VOTEAMERICA; VOTER PARTICI-
PATION CENTER; and CENTER
FOR VOTER INFORMATION,
                     Plaintiffs,
                                           No. 1:21-cv-1390-JPB
      v.

BRAD RAFFENSPERGER, in his of-
ficial capacity as Secretary of State of
the State of Georgia, REBECCA N.
SULLIVAN, in her official capacity as
Vice Chair of the State Election
Board; DAVID WORLEY, MAT-
THEW MASHBURN, and ANH LE,
in their official capacities as members
of the State Election Board,
                             Defendants,

REPUBLICAN NATIONAL COM-
MITTEE; NATIONAL REPUBLICAN
SENATORIAL COMMITTEE; NA-
TIONAL REPUBLICAN CONGRES-
SIONAL COMMITTEE; and GEOR-
GIA REPUBLICAN PARTY, INC.,
     Proposed Intervenor-Defendants.

[PROPOSED] INTERVENOR-DEFENDANTS’ [PROPOSED] ANSWER
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      Intervenors—the Republican National Committee, National Republican
Senatorial Committee, National Republican Congressional Committee, and

Georgia Republican Party, Inc.—now answer Plaintiffs’ complaint (Doc. 1). Un-

less expressly admitted below, every allegation in the complaint is denied.
When Intervenors say something “speaks for itself,” they do not admit that the

referenced material exists, is accurate, or is placed in the proper context. Ac-

cordingly, Intervenors state:
                                       1.

      Turnout data speak for themselves.

                                       2.
      Intervenors admit that Georgia held elections during the COVID-19 pan-

demic. Intervenors otherwise lack sufficient information to admit or deny these

allegations.

                                       3.

      Voting data speak for themselves.

                                       4.
      The referenced quotes speak for themselves.

                                       5.

      Lawsuits and court rulings speak for themselves.
                                       6.

      Intervenors admit that Georgia enacted SB 202. The legislative process

speaks for itself.




                                       1
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                                        7.
         SB 202 speaks for itself.

                                        8.

         SB 202 speaks for itself.
                                        9.

         Denied.

                                       10.
         These legal arguments require no response.

                                       11.

         This legal argument requires no response.
                                       12.

         These legal arguments require no response.

                                       13.

         Denied.

                                       14.

         These legal arguments require no response.
                                       15.

         These legal arguments require no response.

                                       16.
         These legal arguments require no response.

                                       17.

         Intervenors lack sufficient information to admit or deny these allega-
tions.



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                                       18.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       19.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       20.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       21.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       22.

         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require VoteAmerica to divert resources away

from its mission.
                                       23.

         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require VoteAmerica to divert resources away
from its mission.




                                        3
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                                       24.
         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require VoteAmerica to divert resources away

from its mission.
                                       25.

         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require VoteAmerica to divert resources away
from its mission.

                                       26.

         Intervenors lack sufficient information to admit or deny these allega-
tions.

                                       27.

         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       28.

         Intervenors lack sufficient information to admit or deny these allega-
tions.

                                       29.

         Intervenors lack sufficient information to admit or deny these allega-
tions.

                                       30.

         Intervenors lack sufficient information to admit or deny these allega-
tions.



                                        4
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                                       31.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       32.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       33.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       34.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       35.

         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       36.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       37.
         Intervenors lack sufficient information to admit or deny these allega-

tions.




                                        5
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                                       38.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       39.
         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                       40.
         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require Plaintiffs to divert resources away

from their missions.
                                       41.

         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require Plaintiffs to divert resources away

from their missions.

                                       42.

         Intervenors lack sufficient information to admit or deny these allega-
tions, but deny that SB 202 will require Plaintiffs to divert resources away

from their missions.

                                       43.
         Intervenors lack sufficient information to admit or deny these allega-

tions, but deny that SB 202 will require Plaintiffs to divert resources away

from their missions.




                                        6
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                                          44.
         The first sentence is admitted. The other allegations are legal arguments

that require no response.

                                          45.
         The first three sentences are admitted. The other allegations are legal

arguments that require no response.

                                          46.
         SB 202 speaks for itself.

                                          47.

         Georgia law speaks for itself.
                                          48.

         Georgia law speaks for itself.

                                          49.

         Intervenors lack sufficient information to admit or deny these allega-

tions.

                                          50.
         Election dates speak for themselves.

                                          51.

         Voting data speak for themselves.
                                          52.

         Voting data speak for themselves.

                                          53.
         Voting data speak for themselves.



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                                         54.
         Because Plaintiffs cite nothing and offer no explanation, Intervenors lack

sufficient information to admit or deny this allegation.

                                         55.
         Audit results speak for themselves. Because Plaintiffs cite nothing and

offer no explanation, Intervenors lack sufficient information to admit or deny

these allegations.
                                         56.

         Intervenors lack sufficient information to admit or deny these allega-

tions.
                                         57.

         Intervenors admit that SB 202 was enacted. Intervenors lack sufficient

information to admit or deny the other allegations.

                                         58.

         The referenced indications, feelings, and announcement speak for them-

selves.
                                         59.

         Quotes speak for themselves.

                                         60.
         The legislative process speaks for itself. Otherwise denied.

                                         61.

         The legislative process speaks for itself. Otherwise denied.




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                                      62.
      These legal arguments require no response. Intervenors admit that this

is the fifth federal case challenging SB 202.

                                      63.
      Intervenors admit that Plaintiffs challenge three provisions of SB 202.

The other allegations are legal arguments that require no response.

                                      64.
      SB 202 speaks for itself.

                                      65.

      SB 202 speaks for itself. The other allegations are legal arguments that
require no response.

                                      66.

      SB 202 and the current application speak for themselves. The other al-

legations are legal arguments that require no response.

                                      67.

      These legal arguments require no response.
                                      68.

      These legal arguments require no response.

                                      69.
      SB 202 speaks for itself. The other allegations are legal arguments that

require no response.

                                      70.
      These legal arguments require no response.



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                                    71.
     These legal arguments require no response.

                                    72.

     These legal arguments require no response.
                                    73.

     These legal arguments require no response.

                                    74.
     SB 202 speaks for itself. The other allegations are legal arguments that

require no response.

                                    75.
     These legal arguments require no response.

                                    76.

     These legal arguments require no response.

                                    77.

     These legal arguments require no response.

                                    78.
     These legal arguments require no response.

                                    79.

     SB 202 speaks for itself. The other allegations are legal arguments that
require no response.

                                    80.

     These legal arguments require no response.




                                    10
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                                     81.
      The legal arguments require no response. Intervenors lack sufficient in-

formation to admit or deny the factual allegations.

                                     82.
      The legal arguments require no response. Intervenors lack sufficient in-

formation to admit or deny the factual allegations.

                                     83.
      These legal arguments require no response.

                                     84.

      These legal arguments require no response.
                                     85.

      These legal arguments require no response.

                                     86.

      SB 202 speaks for itself. The other allegations are legal arguments that

require no response. Intervenors lack sufficient information to admit or deny

the allegations regarding Plaintiffs’ costs, but deny that SB 202 will require
VoteAmerica to divert resources away from its mission.

                                     87.

      SB 202 speaks for itself.
                                     88.

      These legal arguments require no response.

                                     89.
      These legal arguments require no response.



                                      11
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                                     90.
      SB 202 speaks for itself.

                                     91.

      These legal arguments require no response.
                                     92.

      Quotes speak for themselves. The other allegations are legal arguments

that require no response.
                                     93.

      These legal arguments require no response.

                                     94.
      These legal arguments require no response.

                                     95.

      The legal arguments require no response. Intervenors lack sufficient in-

formation to admit or deny the factual allegations.

                                     96.

      The legal arguments require no response. Intervenors lack sufficient in-
formation to admit or deny the factual allegations.

                                     97.

      The legal arguments require no response. Intervenors lack sufficient in-
formation to admit or deny the factual allegations.

                                     98.

      The legal arguments require no response. Intervenors lack sufficient in-
formation to admit or deny the factual allegations.



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                                       99.
      The legislative history speaks for itself. Intervenors (and Plaintiffs) lack

sufficient information to admit or deny what the Legislature was “aware of.”

The other allegations are legal arguments that require no response.
                                      100.

      The legal arguments require no response. Intervenors lack sufficient in-

formation to admit or deny the factual allegations.
                                      101.

      These legal arguments require no response.

                                      102.
      These legal arguments require no response.

                                      103.

      The legal arguments require no response. Intervenors lack sufficient in-

formation to admit or deny the factual allegations.

                                      104.

      Intervenors incorporate and restate all prior paragraphs of this answer.
                                      105.

      The First Amendment speaks for itself.

                                      106.
      This legal argument requires no response.

                                      107.

      Denied.




                                       13
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                              108.
Denied.

                              109.

These legal arguments require no response.
                              110.

Denied.

                              111.
Denied.

                              112.

Denied.
                              113.

Denied.

                              114.

Denied.

                              115.

Denied.
                              116.

This legal argument requires no response.

                              117.
This legal argument requires no response.

                              118.

This legal argument requires no response.




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                                    119.
     Denied.

                                    120.

     Denied.
                                    121.

     Denied.

                                    122.
     Intervenors incorporate and restate all prior paragraphs of this answer.

                                    123.

     This legal argument requires no response.
                                    124.

     Denied.

                                    125.

     Denied.

                                    126.

     Denied.
                                    127.

     Denied.

                                    128.
     Intervenors lack sufficient information to admit or deny the factual alle-

gations. Otherwise denied.

                                    129.
     Denied.



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                                    130.
     Denied.

                                    131.

     Denied.
                                    132.

     Denied.

                                    133.
     Denied.

                                    134.

     Intervenors incorporate and restate all prior paragraphs of this answer.
                                    135.

     This legal argument requires no response.

                                    136.

     This legal argument requires no response.

                                    137.

     These legal arguments require no response.
                                    138.

     This legal argument requires no response.

                                    139.
     This legal argument requires no response.

                                    140.

     These legal arguments require no response. Intervenors deny that SB
202 violates the First Amendment.



                                    16
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                                     141.
      This legal argument requires no response.

                                     142.

      Denied.
                                     143.

      Intervenors incorporate and restate all prior paragraphs of this answer.

                                     144.
      This legal argument requires no response.

                                     145.

      Denied.
                                     146.

      Denied.

                                     147.

      Denied.

                                     148.

      The legal arguments require no response. Intervenors lack sufficient in-
formation to admit or deny the factual allegations.

                                     149.

      The first sentence is denied. These legal arguments require no response.
                                     150.

      These legal arguments require no response. Intervenors deny that SB

202 violates the First Amendment.




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                              151.
Denied.

                              152.

Intervenors incorporate and restate all prior paragraphs of this answer.
                              153.

This legal argument requires no response.

                              154.
This legal argument requires no response.

                              155.

Denied.
                              156.

Denied.

                              157.

SB 202 speaks for itself. Otherwise denied.

                              158.

SB 202 speaks for itself. Otherwise denied.
                              159.

Denied.

                              160.
Denied.

                              161.

Denied.




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           RESPONSE TO PLAINTIFFS’ PRAYER FOR RELIEF
      Plaintiffs are entitled to no relief, and this Court should enter judgment

against them.


                INTERVENORS’ AFFIRMATIVE DEFENSES

      1.    Plaintiffs fail to state a claim.

      2.    Plaintiffs lack standing.

      3.    Discovery might reveal facts that support additional defenses. In-

tervenors reserve the right to raise those defenses later.

      This 14th day of April, 2021.

                                      Respectfully submitted,

                                       /s/ William Bradley Carver, Sr.
                                      John E. Hall, Jr.
Tyler R. Green (pro hac vice          Georgia Bar No. 319090
forthcoming)                          William Bradley Carver, Sr.
Cameron T. Norris (pro hac vice       Georgia Bar No. 115529
forthcoming)                          W. Dowdy White
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Arlington, VA 22209                   Suite 2900
(703) 243-9423                        Atlanta, GA 30303
                                      (404) 954-6967
                                      bcarver@hallboothsmith.com
                 Counsel for Proposed Intervenor-Defendants




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            CERTIFICATE OF SERVICE AND CERTIFICATE
              OF COMPLIANCE WITH LOCAL RULE 5.1
      The foregoing was prepared in Century Schoolbook font, 13-point type,

one of the font and point selections approved by the Court in N.D. Ga. L.R.
5.1(C). I hereby certify that I electronically filed the foregoing [PROPOSED]

INTERVENOR-DEFENDANTS’ [PROPOSED] ANSWER with the Clerk of

Court using the CM/ECF electronic filing system, which will electronically
serve all counsel of record.

      This 14th day of April, 2021.
                                       /s/ William Bradley Carver, Sr.
                                      John E. Hall, Jr.
Tyler R. Green (pro hac vice          Georgia Bar No. 319090
forthcoming)                          William Bradley Carver, Sr.
Cameron T. Norris (pro hac vice       Georgia Bar No. 115529
forthcoming)                          W. Dowdy White
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                  Counsel for Proposed Intervenor-Defendants




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